                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 VANDERBILT UNIVERSITY,                        )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )   No. 3:24-cv-01301
                                               )
 NATIONAL LABOR RELATIONS                      )
 BOARD, et al.,                                )
                                               )
        Defendants.                            )

                                           ORDER

       Before the Court is Defendants’ Motion to Suspend Injunctive Order Pending Appeal and

for Expedited Consideration (Doc. No. 48). Defendants, remarkably, have imposed a deadline on

this Court for it to rule on their Motion by 12:00 p.m. on December 6, 2024. (See id. at 1).

Accordingly, should Vanderbilt wish to respond to Defendants’ Motion (Doc. No. 48), it must do

so by no later than 8:00 a.m., December 6, 2024.

       IT IS SO ORDERED.



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                                                   WAVERLY D. CRENSHAW, JR.
                                                   UNITED STATES DISTRICT JUDGE




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